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                                             COURT MINUTES                                               Page 2

                                  Magistrate Judge Edwin G. Torres
                        King Building Courtroom 10-5                       Date: 11/1/21        Time: 10:00 a.m.
Defendant: Alex Nain Saab Moran              J#: 02538-506 Case #: 19-20450-CR-SCOLA
AUSA: Kurt Lunkenheimer, Alex Kramer-DOJ               Attorney: Henry Bell, Temporary Counsel
Violation: Conspiracy to Commit Money Laundering, Laundering of Monetary Instruments
Proceeding: Report Re: Counsel, Arraignment                    CJA Appt:
Bond/PTD Held:      Yes      No         Recommended Bond:
Bond Set at: Pretrial Detention - STIPULATED                    Co-signed by:
     Surrender and/or do not obtain passports/travel docs             Language: Spanish
     Report to PTS as directed/or            x’s a week/month by      Disposition:
     phone:          x’s a week/month in person                       *Waiver of Appearance to be entered*
     Random urine testing by Pretrial Services                        Defendant requests continuance, no
     Treatment as deemed necessary
                                                                      objection from the Government. For
     Refrain from excessive use of alcohol
                                                                      good cause shown, matter continued.
     Participate in mental health assessment & treatment
     Maintain or seek full-time employment/education
     No contact with victims/witnesses
     No firearms
     Not to encumber property
     May not visit transportation establishments
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:                                                Time from today to 11/15/21 excluded
     Other:                                                             from Speedy Trial Clock

NEXT COURT APPEARANCE     Date:              Time:           Judge:                        Place:
Report RE Counsel: 11/15/21                  10:00           Miami Duty
PTD/Bond Hearing:
Arraignment:                 11/15/21        10:00          Miami Duty
Status Conference RE:
D.A.R. EGT-01/11-1-2021-ZOOM-10:09 am                                 Time in Court: 1
